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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                      MDL NO 2924
   PRODUCTS LIABILITY                                                                               20-MD-2924
   LITIGATION

                                                                    JUDGE ROBIN L ROSENBERG
                                                            MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO:
   ALL CASES

                               AMENDED PRETRIAL ORDER # 43 1
                        Order Setting Forth Service of Process of Short Form
                Complaints on Generic, Distributor, Repackager, and Retailer Defendants

   I.         SCOPE OF THE ORDER

              This Order applies only to personal injury claims brought by Plaintiffs in MDL 2924

   (whether they are directly filed in or transferred to the MDL) based on usage or purchase of Zantac

   or ranitidine in the United States. Pursuant to Amended Pretrial Order # 31, which requires all

   Plaintiffs bringing actions for personal injuries to file a Short Form Complaint, this Order sets forth

   procedures for service of process of Short Form Complaints on those Generic, Distributor,

   Repackager, and Retailer Defendants identified on the attached Exhibit A that are citizens of the

   United States and on whom Plaintiffs have formally served the Master Personal Injury Complaint

   in accordance with Rule 4 of the Federal Rules of Civil Procedure (the “Non-Brand U.S.

   Defendants”). This Order applies to Non-Brand U.S. Defendants named in the Master Personal

   Injury Complaint [docket entry 887] as of the date of this Order and, in Section III, provides a

   process for additional Defendants to opt-in to the procedures set forth in this Order.




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       The Court VACATES Pretrial Order # 43 at docket entry 1931 and substitutes this Amended Order in its place.
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   II.       STREAMLINED SERVICE OF PROCESS OF SHORT FORM COMPLAINTS

             Plaintiffs may serve Short Form Complaints on those Non-Brand U.S. Defendants

   identified on the attached Exhibit A via electronic mail in accord with the procedures set forth in

   this Order.

             A.    The procedures set forth in this Order for service of process are not available in

   cases in which the Plaintiff seeks remand to state court unless and until remand is denied. For a

   Plaintiff seeking remand, any deadlines set forth in this Order run from the date on which remand

   is denied.

             B.    Within fourteen (14) days from the date of this Order, the Non-Brand U.S.

   Defendants currently named in the Master Personal Injury Complaint shall provide Plaintiffs’

   Co-Lead Counsel with a single Joint Notice of Email Addresses for Purposes of Email Service of

   Short Form Complaints on Non-Brand U.S. Defendants (the “Joint List”). The Joint List shall

   identify one email address for each Non-Brand U.S. Defendant currently named in the Master

   Personal Injury Complaint at which each Non-Brand U.S. Defendant will accept email service of

   Short Form Complaints. Plaintiffs’ Co-Lead Counsel shall provide the Joint List to its vendor,

   BrownGreer, for use in connection with the MDL Centrality platform for the service of Short Form

   Complaints. Within five (5) business days of the Court entering an Order dropping any Defendant

   from the Master Personal Injury Complaint, Defendants’ Liaison Counsel shall provide an updated

   Exhibit A and Joint List to Plaintiffs’ Co-Lead Counsel and BrownGreer. Plantiffs’ Co-Lead

   Counsel and BrownGreer shall cause the BrownGreer portal to be updated. After those five (5)

   business days, the dropped Defendant shall no longer be subject to service either by email under

   the terms of this Order or through the BrownGreer MDL Centrality Platform under the terms of

   Pretrial Order # 44 (unless the Defendant subsequently opts back in under Section III of this

   Order).


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          C.      To the extent a Defendant who is dropped from the Master Complaint was

   previously served pursuant to this Pretrial Order, that service of process remains effective on that

   dropped Defendant.

          D.      Plaintiffs may, at their option, serve file-stamped Short Form Complaints on each

   Non-Brand U.S. Defendant that is a named Defendant in the current Master Personal Injury

   Complaint at the email address identified in the Joint Notice, subject to the following conditions:

                  1.      No summons is required.

                  2.      The sending of a Short Form Complaint to the email address designated by

   the Non-Brand U.S. Defendant pursuant to paragraph B above shall constitute service on the

   Non-Brand U.S. Defendant if it satisfies the additional requirements in sub-section 3 below.

                  3.      Each Short Form Complaint shall be served individually (i.e., one Short

   Form Complaint per email), and the subject line of each email shall state the Plaintiff’s first and

   last name, as well as the originating court. All Non-Brand U.S. Defendants named in the Short

   Form Complaint may be served in a single email. The body of each email must also include contact

   information for the Plaintiff’s counsel of record and specify the Defendant(s) being served.

                  4.      If a Plaintiff serves a Short Form Complaint through MDL Centrality

   through the procedure set forth in Pretrial Order # 44, service shall be deemed completed and

   received by all Defendants identified on the then-current Exhibit A. Upon service by Defendants’

   Liaison Counsel of an updated Exhibit A or Joint List as required in paragraph B above, Plaintiffs’

   Co-Lead Counsel and BrownGreer will update the MDL Centrality system accordingly. Plaintiffs’

   Co-Lead Counsel and BrownGreer are responsible for programming MDL Centrality to include

   the proper Defendants and email addresses provided by Defendants’ Liaison Counsel for service

   of process.




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            E.       Beginning September 28, 2020, and on each Monday thereafter, BrownGreer shall

   send a report of the Short Form Complaints served the prior week, identifying for each those

   Non-Brand U.S. Defendants served. This report shall be sent to JThomas@blankrome.com.

   Generic Liaison Counsel, or their delegate, will distribute the list among Non-Brand U.S.

   Defendants. The parties will use the service report to begin a meet and confer process to resolve

   defects in the service procedures outlined herein.

            F.       Pending further Order of this Court, Non-Brand Defendants are not required to

   answer or otherwise respond to Short Form Complaints served pursuant to this Order. Other than

   defenses based on service of process, Non-Brand U.S. Defendants do not waive any available

   rights or defenses under federal or state law and applicable treaties and conventions.

   III.     APPLICABILITY TO ADDITIONAL DEFENDANTS

            A.       Any Defendant added to the Master Personal Injury Complaint after the date of this

   Order may consent to electronic service under the terms of this Order and Pretrial Order # 44.

   Within the greater of seven (7) days of the date of this Order or twenty-one (21) days of the date

   of service of the Master Personal Injury Complaint, any added Defendant shall notify its designated

   Liaison Counsel and the Coordinating Counsel of its willingness to be bound by this Order and, if

   consenting, shall provide an email address for service of process. 2                       Liaison Counsel and

   Coordinating Counsel shall then communicate with Defendants’ Liaison Counsel to ensure that

   Exhibit A and the Joint List are updated and circulated in accordance with Section II.B of this

   Order.




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    Added Defendants are advised that their addition to the Master Complaint triggers several deadlines, and they may
   consult with designated Liaison Counsel about those deadlines. The names of the individuals serving as Liaison
   Counsel and Coordinating Counsel as of the date of this Order, and their contact information, is set forth in Pretrial
   Order # 27.


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          B.      Any Defendant, whether foreign or domestic, may consent to electronic service

   under the terms of this Order and Pretrial Order # 44 by notifying its designated Liaison Counsel

   and the Coordinating Counsel of its willingness to be bound by this Order and by providing an

   email address for service of process.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 29th day of

   September, 2020.



                                                       ROBIN L. ROSENBERG
                                                       UNITED STATES DISTRICT JUDGE




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                         In Re: Zantac (Ranitidine) Product Liability Litigation
                                                      MDL No 2924
                                                        Exhibit A
                        Order for Service of Short Form Complaints on Non‐Brand US Defendants




              Defendant
              Actavis Mid Atlantic LLC
              Ajanta Pharma USA Inc
              Albertson’s Companies, Inc
              Amazon.com, Inc.
              Amerisource Health Services, LLC d/b/a American Health Packaging
              AmerisourceBergen Corporation
              Amneal Pharmaceuticals LLC
              Amneal Pharmaceuticals of New York, LLC
              Amneal Pharmaceuticals, Inc.
              ANDA Repository, LLC
              Apotex Corporation
              Appco Pharma LLC
              Auro Health LLC
              Aurobindo Pharma USA, Inc.
              BJ’s Wholesale Club Holdings, Inc.
              Cardinal Health, Inc
              Chattem, Inc.
              Contract Pharmacal Corp.
              Costco Wholesale Corporation
              CVS Pharmacy, Inc
              Denton Pharma Inc. d/b/a Northwind Pharmaceuticals
              Dolgencorp, LLC
              Dollar Tree Stores, Inc.
              Dr. Reddy’s Laboratories, Inc.
              Duane Reade, Inc.
              Express Scripts, Inc.
              Family Dollar, Inc.
              Fred Meyer Stores, Inc
              Geri‐Care Pharmaceuticals, Corp.
              Giant Eagle, Inc.
              Glenmark Pharmaceuticals Inc., USA
              Golden State Medical Supply, Inc.
              Granules USA, Inc
              H‐E‐B LP f/k/a HEB Grocery Company
              Heritage Pharmaceuticals, Inc.
              Hikma Pharmaceu cals USA, Inc. f/k/a West‐Ward Pharmaceu cals Corp.
              Humana Pharmacy Solutions, Inc.
              Hy‐Vee, Inc.
              Kaiser Permanente International
              L. Perrigo Co.
              Lannett Co. Inc.
              McKesson Corporation
              Medicine Shoppe International, Inc.
              Mylan Institutional LLC
              Mylan Pharmaceuticals Inc.
              Mylan Inc.
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                         In Re: Zantac (Ranitidine) Product Liability Litigation
                                                       MDL No 2924
                                                         Exhibit A
                         Order for Service of Short Form Complaints on Non‐Brand US Defendants




              Defendant
              Nostrum Laboratories Inc.
              Novitium Pharma LLC
              OptumRx, Inc.
              PAI Holdings, LLC f/k/a Pharmaceutical Associates, Inc.
              Par Pharmaceutical Inc.
              Perrigo Company
              Perrigo Research & Development Company
              Precision Dose Inc.
              Price Chopper Operating Co., Inc.
              Publix Supermarkets, Inc.
              Ranbaxy Inc.
              Rite Aid Corporation
              Safeway, Inc.
              Sam’s West, Inc.
              Sandoz Inc.
              Shop‐Rite Supermarkets, Inc.
              Smith’s Food and Drug Centers, Inc.
              Southeastern Grocers, Inc. f/k/a Southeastern Grocers, LLC
              Strides Pharma, Inc.
              Sun Pharmaceutical Industries, Inc., f/k/a Ranbaxy Pharmaceuticals Inc.
              Taro Pharmaceuticals U.S.A., Inc.
              Teva Pharmaceuticals U.S.A., Inc.
              The Kroger Co.
              Torrent Pharma Inc.
              Wakefern Food Corporation
              Walgreens Boot Alliance, Inc.
              Walgreens Co
              Walmart Inc. f/k/a Wal‐Mart Stores, Inc.
              Watson Laboratories, Inc
              Winn Dixie Stores, Inc.
              Wockhardt USA LLC, formerly known as Wockhardt USA, Inc.
              Zydus Pharmaceuticals (USA) Inc.
